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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

Energy Heating, LLC, and Rocky Mountain          )
Oilfield Services, LLC,                          )                  Case No. 4:13-cv-10
                                                 )
                       Plaintiffs,               )       ORDER GRANTING IN PART AND
                                                 )       DENYING IN PART PLAINTIFFS’
vs.                                              )          MOTION FOR SUMMARY
                                                 )               JUDGMENT
Heat On-the-Fly, LLC, and Super Heaters          )
North Dakota, LLC;                               )

                       Defendants.

                     INTRODUCTION AND SUMMARY OF HOLDING

       Before the Court are two motions for partial summary judgment brought by Plaintiffs Energy

Heating, LLC (“Energy Heating”) and Rocky Mountain Oilfield Services, LLC (“Rocky Mtn.”)

(Docs. #32, 59). Plaintiffs have filed a complaint seeking, inter alia, a declaration that they do not

infringe Defendants’ trademark HEAT ON-THE-FLY and cancellation of Defendants’ registration

for that mark. Defendants have filed counterclaims against Plaintiffs asserting direct and indirect

infringement of U.S. Patent No. 8,171,993 (“the ’993 patent”). Plaintiffs now move for summary

judgment on their trademark claims and Defendants’ direct infringement counterclaim.1 Because

Plaintiffs have not proven as a matter of law that the HEAT ON-THE-FLY mark is generic,

Plaintiffs’ motion for summary judgment on the trademark claims is DENIED. With respect to

Defendants’ counterclaim of direct infringement, Defendants cannot demonstrate that Plaintiffs


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          In their first motion for summary judgment (Doc. #32), Plaintiffs also sought dismissal
of Defendants’ counterclaim for indirect infringement of the ’993 patent under Federal Rule of
Civil Procedure 12(b)(6). Plaintiffs acknowledge Defendants have cured the alleged deficiency
in their First Amended Counterclaim (Doc. #56), rendering their motion to dismiss the indirect
infringement claim moot. (Doc. #60).

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directly infringe the method or apparatus claims disclosed in the ’993 patent. Accordingly, with

respect to claims 1, 13, 36, 63, and 86 of the ’993 patent, Plaintiffs’ motion for summary judgment

on the direct infringement counterclaim is GRANTED, and the associated portions of that claim are

DISMISSED. A fact question remains as to whether Plaintiffs directly infringe the system claim

disclosed in the ’993 patent. Plaintiffs’ motion for summary judgment with respect to direct

infringement of claim 26 of the ’993 patent is thus DENIED.

                                              FACTS

       Defendant Heat On-The-Fly (“HOTF”) is the owner of the ‘993 patent, entitled “Water

Heating Apparatus for Continuous Heated Water Flow and Method for Use in Hydraulic

Fracturing.”2 (Doc. #1-1). The ’993 patent prescribes a “method and apparatus for the continuous

preparation of heated water flow for use in hydraulic fracturing” or, as it is more commonly known,

“fracking.” (Id. at 15). Fracking entails pumping a mixture of heated water, chemicals, and sand

into a geological formation, causing the formation to fracture and release oil or gas deposits into a

surrounding well. (Id.). Prior to the ’993 patent, the common method of heating water for fracking

projects involved pumping source water into numerous tanks and raising the temperature of each

tank individually the night before commencing fracking operations. (Id.). Due to the time lapse

involved, tanks generally had to be overheated to account for thermal loss. (Id.). The ’993 patent

addresses this shortcoming by providing continuously heated water during the fracking process. (Id.)

As cool water is pumped into the mixing mechanism, a portion of the water is diverted through



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         A Request for Ex Parte Reexamination of the ’993 patent was filed by an unnamed third
party on September 14, 2012, requesting reexamination of claims 1-12 of the ’993 patent. (Doc.
#27). The United States Patent and Trademark Office (“USPTO”) granted the Request on
December 7, 2012. (Id.). Reexamination of the ’993 patent is still pending. (Id.).

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separate piping into a heating unit, where it is superheated and then reintroduced to the ambient

water flow in the mixing mechanism. (Id. at 15–16). The newly heated mixture is then pumped into

the formation. (Id.).

        HOTF refers to its patented process as heating water “on-the-fly.” (See Doc. #76, p. 15).

In 2010, HOTF obtained United States Trademark Registration No. 3,811,923 for the mark HEAT

ON-THE-FLY for use in connection with oil well fracturing. (Doc. #62-2). Defendant Super

Heaters North Dakota (“Super Heaters”), a company that provides heated water for fracking

operations in North Dakota, is a current licensee of both the ’993 patent and the HEAT ON-THE-

FLY mark. (Doc. #27, p. 2– 4).

        Plaintiffs Energy and Rocky Mtn. are joint venturers in the field of water delivery in North

Dakota. (Id. at 2). Defendants believe Plaintiffs’ portable water heaters infringe the ’993 patent.

Defendants allegedly reported the suspected infringement to Plaintiffs’ customers. (Id. at 3). As a

result, Plaintiffs now bring this suit, seeking (1) a declaration of invalidity regarding all or part of

the ’993 patent, (2) a declaration of Plaintiffs’ non-infringement of the ’993 patent, (3) a declaration

of Plaintiffs’ non-infringement of the HEAT ON-THE-FLY mark, (4) an order of cancellation of the

HEAT ON-THE-FLY mark, and alleging (5) tortious interference with existing or prospective

business relationships, and (6) tortious interference with contracts. (Id. at 5–6). Defendants seek

injunctive relief and money damages on their counterclaims of direct and indirect infringement of

the ’993 patent. (Doc. #23). Plaintiffs have moved for partial summary judgment on their trademark

claims and Defendants’ direct infringement counterclaim.

                                           DISCUSSION

        Summary judgment is appropriate if, viewing the evidence in the light most favorable to the


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non-movant, “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Warner Bros. Entm’t, Inc. v. X One X Prods., 644 F.3d 584, 591 (8th

Cir. 2011); Fed. R. Civ. P. 56(a). There is no genuine issue for trial when the record as a whole

“could not lead a rational trier of fact to find for the non-moving party.” Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). “A plaintiff may not merely point to unsupported

self-serving allegations, but must substantiate allegations with sufficient probative evidence that

would permit a finding in the plaintiff's favor.” Davidson & Assocs. v. Jung, 422, F.3d 630, 638 (8th

Cir. 2005).

I.     Validity of the HEAT ON-THE-FLY mark.

       “A term for which trademark protection is claimed will fall in one of four categories: (1)

generic, (2) descriptive, (3) suggestive, or (4) arbitrary or fanciful.” WSM, Inc. v. Hilton, 724 F.2d

1320, 1325 (8th Cir. 1984). “A generic mark refers to the common name or nature of an article, and

is therefore not entitled to trademark protection.” Frosty Treats, Inc. v. Sony Computer Entm’t Am.,

Inc., 426 F.3d 1001, 1005 (8th Cir. 2005). Plaintiffs contend the phrase “heat on the fly” is generic

and, therefore, seek (1) a declaration that their use of this phrase does not infringe Defendants’

trademark rights and (2) cancellation of U.S. Trademark Registration No. 3,811,923. Registration

of a trademark, however, creates a rebuttable presumption of a mark’s validity and distinctiveness.

Aromatique, Inc. v. Gold Seal, Inc., 28 F.3d 863, 869 (8th Cir. 1994); 15 U.S.C. § 1115(a). This is

especially so when the USPTO registers a mark without requiring proof of secondary meaning.

Accordingly, Plaintiffs must not only overcome a presumption of nongenericness, but also show

there is no genuine issue of material fact as to the mark’s genericness.

       The Lanham Act provides “[t]he primary significance of the registered mark to the relevant


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public . . . shall be the test for determining whether the registered mark has become [generic].” 15

U.S.C. § 1064(3). Plaintiffs contend that within the oil and gas industry, the phrase “heat on the fly”

describes a well-known method of heating water—also referred to as “in line,” “on demand,” or

“tankless” water heating—without reference to any particular source. (Doc. #60, p. 6). In support,

Plaintiffs point to allegedly generic uses of the phrase throughout Defendants’ depositions and

website materials, industry usage, and Plaintiffs’ own depositions.

       With regard to Defendants’ depositions and website materials, Plaintiffs argue Defendants

consistently use the phrase “heat on the fly” to refer to a process of heating water rather than as a

designation of source. For example, HOTF designee Mark Hefley stated he first heard the phrase

“heat on the fly” when a customer asked him to heat fluid on the fly in 2006 (before Hefley had

invented the method disclosed in the ’993 patent). (Doc. #62-5, p. 10). Similarly, Super Heaters’

designee Ron Lyles defined “heat on the fly” as “the heating of water as it’s transferred” and stated

any company performing this process would be “heating on the fly.” (Doc. #62-4, p. 15, 37).

HOTF’s website also provided the following explanation of its services in the “About Us” section:

       Our engineers began to field test the idea of heating water as it flowed from the
       source- before it got to the frac tank. Heating water on the fly as it moved from
       source to fracing tank to the wellbore became the holy grail for operators in the deep
       gas shales. . . . The process of configuring the super heating units, tying in the source
       water directly to fracing operations on an as-needed basis became known as
       Heat-On-The-Fly® and is now a patented process for heating water for hydraulic
       fracturing.

(Doc. #62-7, p. 3–4).

       While Defendants appear to alternate between use of the mark as a descriptor and as a

designation of source, “the test . . . is what consumers, not persons in the trade, understand the term

to be.” Anheuser-Busch Inc. v. Stroh Brewery Co., 750 F.2d 631, 638 (8th Cir. 1984). Defendants’


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own statements in a deposition context do not establish the “primary significance of the registered

mark to the relevant public.” 15 U.S.C. § 1064(3). With regard to Defendants’ website, the

linguistic and visual distinctions between “[h]eating water on the fly” and “Heat-On-The Fly®”

illustrate, at a minimum, an attempt to distinguish between a general process and Defendants’ unique

product. Whether this distinction is sufficient to sever Defendants’ mark from the generic process

of “heating water on the fly,” and whether that distinction is reflected in the minds of consumers,

remain open questions of fact.

        Plaintiffs argue industry usage confirms the genericness of the phrase “heat on the fly.” In

support, they provide numerous examples of patents and industry publications using the phrases “on

the fly” or “heat water on-the-fly.” As the Federal Circuit noted in In re American Fertility Society,

however, genericness cannot be established simply by “cit[ing] definitions and generic uses of the

constituent terms of a mark, or in this case, a phrase within the mark, in lieu of conducting an inquiry

into the meaning of the disputed phrase as a whole.” 188 F.3d 1341, 1347 (Fed. Cir. 1999). “The

correct legal test for genericness . . . requires evidence of the genus of goods or services at issue and

the understanding by the general public that the mark refers primarily to that genus of goods or

services.” Id.

        Industry usage of “on the fly,” a mere “phrase within a mark,” cannot establish the

genericness of Defendants’ mark on the whole. See id. The phrase “heat water on-the-fly” strikes

closer to the heart of Defendants’ mark, but consistent addition of the word “water” in industry usage

suggests the phrase “heat on the fly” alone does not fully describe the nature of Defendants’ service

or product. (See, e.g., Doc. #62-6; 63-10). Among Plaintiffs’ cited examples, even the phrase “heat

water on-the-fly” does not often stand alone. A patent application for an “Oil-Fired Frac Water


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Heater,” for example, describes a system “to heat water-on-the-fly (i.e., directly from the supply

source to the well head).” (Doc. #62-6). The inclusion of a definition for the phrase “heat water on-

the-fly” suggests strongly that the less descriptive phrase “heat on the fly” does not represent the

“genus of goods or services” offered by Defendants. This conclusion is bolstered by Plaintiffs’

acknowledgment that within the oil and gas industry, the process of heating water on the fly can also

be described as “in line,” “on demand,” or “tankless” water heating. (Doc. #60, p. 6). The

availability of alternative descriptors is relevant to a determination of genericness. See, e.g., Cmty.

of Christ Copyright Corp. v. Devon Park Restoration Branch of Jesus Christ’s Church, 634 F.3d

1005, 1011 (8th Cir. 2011) (noting that competitor could “accurately describe its services without

using [owner’s] marks”). Thus, while industry usage of the phrases “on the fly” and “heat water on-

the-fly” may ultimately detract from the strength of Defendants’ mark, such use does not establish

its genericness as a matter of law.

       Finally, Plaintiffs offer their own deponents’ testimony to suggest HEAT ON-THE-FLY

refers generically to a common process. This self-serving claim is of limited probative value. More

importantly, the cited examples do little to support Plaintiffs’ cause. For instance, when asked what

types of heating operations Rocky Mtn. offers, its designee Matthew Mason testified, “[S]ome

operations are in-line and others are, uh, you know, preheats.” (Doc. #63-13, at p. 14). Mason later

testified, “[W]e – you know, me, personally, have been doing, uh, what – what Mr. Lyles [of Super

Heaters] is calling heat on-the-fly since 2007.” (Doc. #63-13, at p. 54). While Mason’s testimony

confirms a familiarity with the concept of “heating on the fly,” he appears to associate that term with

Super Heaters and to refer to Rocky Mtn.’s comparable service more frequently as “in-line heating.”




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       Categorization of a trademark is a question of fact. WSM, 724 F.2d at 1326. So, too, are the

questions of how a particular word has been used and how it has been understood by the public. Id.

at 1325. Because questions of fact remain as to how the relevant public regards Defendants’ mark,

Plaintiffs are not entitled to summary judgment on their claim of non-infringement by virtue of

genericness. For the same reason, Plaintiffs’ request that the Court order cancellation of Defendants’

trademark registration is denied.

        As an alternate ground for cancellation, Plaintiffs argue that failure to use a mark as claimed

in a registration for three years is “prima facie evidence of abandonment.” 15 U.S.C. § 1127.

Defendants registered HEAT ON-THE-FLY for use in connection with oil well fracturing. Because

Defendants provide only water heating services and do not personally engage in fracking, Plaintiffs

claim Defendants’ mark was fraudulently obtained and has since been abandoned. Based on the

voluminous record associating Defendants’ patented process, business relations, and marketing

efforts with the fracking industry, Plaintiffs cannot credibly argue Defendants’ mark has not been

used in connection with oil well fracturing. Accordingly, Plaintiffs’ motion for summary judgment

on this claim is denied.

II.    Direct infringement of the ’993 patent.

       Plaintiffs have also filed a motion for summary judgment with respect to Defendants’

counterclaims of direct infringement of the ’993 patent. Of the ’993 patent’s eight independent

claims, Defendants accuse Plaintiffs of infringing six: claims 1, 13, 26, 36, 63, and 86. (Doc. #35-3).

Of the six independent claims, three are method claims (1, 13, and 63) and three are system or

apparatus claims (26, 36, and 86). The method claims describe a “method of fracturing a formation

producing at least one of oil and gas.” (Doc. #1-1). The apparatus claims describe a “hydraulic


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fracturing apparatus” (claims 36 and 86) and an “oil well hydraulic fracturing system” (claim 26).

(Id.). Defendants allege both direct and indirect infringement of each claim. Plaintiffs challenge

only the claims of direct infringement in their motion for summary judgment.

       A.      Method Claims

        Defendants’ claimed method of “fracturing a formation” is typically performed by three

separate entities in a given fracking operation: a water transfer company, a water heating company,

and a pressure pumping company. (Doc. #76-3, p. 3). Typically, the water transfer company

provides cool water from a water source and sets up piping to transfer the water first to the heating

company and then into the mixing tanks. (Id.). The water heating company then heats the water to

the desired temperature. (Id.). Finally, the pressure pumping company combines the heated water

with chemicals and proppants and pumps the mixture down into the formation. (Id.).

       The Federal Circuit recently clarified the standard where alleged infringement is divided

between multiple parties. “In the context of a method claim, [direct infringement] means the accused

infringer must perform all the steps of the claimed method, either personally or through another

acting under his direction or control.” Akamai Techs., Inc. v. Limelight Networks, Inc., 692 F.3d

1301, 1307 (Fed. Cir. 2012). “Direct infringement has not been extended to cases in which multiple

independent parties perform the steps of the method claim.” Id. Defendants’ claimed method

includes steps such as “adding a selected proppant to the mix” and “transmitting the mix . . . into a

formation,” which are undisputedly performed by third parties. (See Docs. #1-1; 76-3). Because no

single party has committed all the required acts necessary to constitute infringement, Plaintiffs

correctly assert that Defendants’ claims of direct infringement fail as a matter of law as they relate

to the ’993 patent’s method claims.


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       Defendants appeared to concede as much in their Patent Initial Disclosures. (See Doc. #35-3,

p. 1 (“If Akamai is expanded to clarify that multiple parties can together directly infringe under 35

U.S.C. §271(a) when one party performs some steps and another party or parties performs the other

steps of a method claim, then plaintiffs likewise directly infringe.”)). In their Memorandum in

Opposition to Plaintiffs’ Combined Motions for Summary Judgment, however, Defendants argue

“a reasonable jury could find that the plaintiffs direct or control the activities of the water transfer

company and the pressure pumping company to perform the steps of the asserted method claims.”

(Doc. #76, p. 17). In support, Defendants advance various arguments relating to the centrality of the

water heating function to the overall claimed method. (See id. at 17–19). Defendants’ arguments

miss the mark. “Absent an agency relationship between the actors or some equivalent, . . . a party

that does not commit all the acts necessary to constitute infringement has not been held liable for

direct infringement.” Akamai, 692 F.3d at 1307; see also Cross Med. Prods., Inc. v. Medtronic

Sofamor Danek, Inc., 424 F.3d 1293, 1311 (Fed. Cir. 2005) (declining to recognize direct

infringement of method claim where final step of method was performed by third party not acting

as agent of alleged infringer). Because the water transfer and pressure pumping companies do not

act as Plaintiffs’ agents or some equivalent in performing their steps of the ’993 methods,

Defendants cannot prevail on their claims of direct infringement of those methods.

       B.      System and Apparatus Claims

       Defendants allege Plaintiffs have also directly infringed their system and apparatus claims

by making and using claimed elements of the ’993 patent. See 35 U.S.C. § 271(a) (defining a direct

infringer as one who makes, uses, offers to sell, sells, or imports a patented invention within the

United States). Because critical elements of the patented system are provided by third parties (as


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discussed above), Plaintiffs argue they cannot directly infringe these claims as a matter of law.

       1.      Use of a System or Apparatus

       The Federal Circuit recently addressed the issue of infringement by “using” a system or

apparatus that includes elements in the possession of more than one actor in Centillion Data Systems,

LLC v. Qwest Communications Int’l, Inc., 631 F.3d 1279, 1283 (2011). There, the system claims

at issue involved software comprised of two components: a “back-end” component maintained by

a service provider and a “front-end” application purchased and installed on a personal computer by

an end user. Id. at 1281. Unlike direct infringement of a method claim, the court determined that

to “use” a claimed system, a party need not “exercise physical or direct control over each individual

element of a system.” Id. at 1284. Rather, an infringing user is one who “put[s] the invention into

service, i.e., control[s] the system as a whole and obtain[s] benefit from it.” Id. Under this

definition, the court determined the end users of the software at issue—and not the accused service

provider—“used” the patented system by “causing the system as a whole to perform [the] processing

and obtaining the benefit of the result.” Id. at 1285. As a matter of law, the service provider “never

‘use[d]’ the entire claimed system because it never put[] into service the personal computer data

processing means.” Id. at 1286. It merely supplied software for the customer to use, which the court

held did not constitute “use.” Id.

       Like the software at issue in Centillion, Defendants’ water heating system and apparatus

involve components in the possession of multiple parties. Claim 26 of the ’993 patent, for example,

discloses a system comprised in part of “a source of cool or cold water” and “a mixing tank,” both

of which are provided by parties other than Plaintiffs in a given fracking operation. (Doc. #1-1; 76-

3). Although this does not bar an allegation of direct infringement as it does under Defendants’


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method claims, the Court must determine whether Plaintiffs used the system by “control[ling] the

system as a whole and obtain[ing] benefit from it.” Id. at 1284.

       The ’993 patent claims an “oil well hydraulic fracturing system” and a “hydraulic fracturing

apparatus” for the purpose of extracting oil or gas. (Doc. #1-1). The system can be summarized as

follows: (1) water is pumped from a source; (2) the water is heated; (3) the heated water is

transported to a mixing tank; (4) the heated water is mixed with a proppant or chemical; and (5) the

mixture of heated water and proppant is pumped into a subterranean formation. (Doc. 34, ¶ 2).

Because they perform only an intermediary function in the overall hydraulic fracturing system,

Plaintiffs contend they do not “put the invention into service.” Id. Moreover, because they do not

engage in fracking or ultimately obtain the extracted gas or oil, Plaintiffs contend they do not

“control the system as a whole and obtain benefit from it.” Id.

       Defendants argue, in turn, that because Plaintiffs’ activities during a fracking operation are

the “key activities that allow the claimed invention to work,” Plaintiffs are responsible for

controlling the system as a whole. (Doc. #80, p. 12). This analysis misstates the appropriate

standard for “use” under Centillion and § 271(a). The court in Centillion did not evaluate which

party provided the most salient aspect of the patented system. If it had engaged in such an inquiry,

surely the manufacturer of the software would have played a more “key” role with respect to the

claimed invention than the end user who merely purchased and installed it. Instead, the court held,

“[w]hile Qwest may make the back-end processing elements, it never ‘uses’ the entire claimed

system because it never puts into service the personal computer data processing means. Supplying

the software for the customer to use is not the same as using the system.” Id. at 1286.

       Plaintiffs’ role in Defendants’ claimed system is analogous to the service provider’s role in


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Centillion. Plaintiffs supply heated water to a pressure pumping company, which Defendants

concede then provides the final components of the claimed system by “receiv[ing] the heated water

. . . and mix[ing] the hot water with proppants and possible other things and then pump[ing] the

mixture downhole into a formation in order to fracture the formation to obtain oil or natural gas.”

(Doc. #80, p. 14). While providing hot water is undoubtedly a key role in completion of the overall

system, Plaintiffs never use the entire claimed system because they never put into service the mixing

or pumping components. Supplying hot water for the pressure pumping company to use is not the

same as using the system. See id.

       This is so even though Plaintiffs’ heated water is provided continuously throughout the

fracking operation, rather than as a discrete product transferred into the possession of a subsequent

actor. (Doc. #80, p. 15). Although the water transfer, water heating, and pressure pumping functions

occur almost simultaneously, at the point when Plaintiffs have completed their water heating

function, multiple components of the ’993 system remain unfulfilled. In Centillion, the court held

that even the back-end system’s automatic generation of periodic reports did not constitute use on

the part of the manufacturer because “but for the customer’s actions [of subscribing], the entire

system would never have been put into service.” Id. at 1285. Here, but for the pressure pumping

company’s actions of mixing and pumping the water downhole, the claimed fracking system would

never be put into service—Plaintiffs would merely have succeeded in making hot water, not “an oil

well hydraulic fracturing system” or “a hydraulic fracturing apparatus.” Accordingly, Defendants

cannot demonstrate that Plaintiffs directly infringe the ’993 patent by using the claimed system or

apparatus.




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       2.      Making a System or Apparatus

       Defendants alternatively contend that Plaintiffs directly infringe the ’993 patent by “making”

the claimed system and apparatus. In Cross Medical, the Federal Circuit considered the issue of

direct infringement by “making” a claimed system or apparatus. 424 F.3d 1293 (Fed. Cir. 2005).

A patent holder developed orthopedic surgical implants used to stabilize and align the bones of a

patient’s spine. Id. at 1297. The claimed system and apparatus described a fixation device

comprised, in part, of “an anchor seat means which has a lower bone interface operatively joined to

said bone segment.”     Id. at 1299. The court determined this structural limitation rendered the

apparatus complete only when the implant came into contact with bone, not when the implant merely

became capable of operative joinder to bone. Id. at 1306, 1310. Because surgeons, and not the

implant manufacturer, ultimately connected the implants with bone, the court held the manufacturer

did not “make” the claimed apparatus and, therefore, did not directly infringe. Id. at 1311. Even

where the manufacturer’s representatives were present during surgery and identified instruments for

use by the surgeon, the court held the manufacturer did not directly infringe because the surgeons

did not act as the manufacturer’s agents. Id.

       For reasons similar to those discussed in the “use” section above, Plaintiffs contend they do

not “make” Defendants’ system or apparatus. The final limitation of claims 36 and 86 (Defendants’

apparatus claims) describes a “flowline that transmits the mix of cool or cold and heated water and

proppant from the tank into a formation producing at least one of oil and gas.” (Doc. 1-1). Applying

the court’s rationale from Cross Medical, Defendants’ claimed apparatus is not complete until the

final limitation is met and the heated fracking mixture is transmitted into a geological formation to

produce oil or gas. See id. at 1310 (“Literal infringement requires that each and every limitation set


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forth in a claim appear in an accused product.”) (internal citation omitted). This limitation is

fulfilled not by Plaintiffs, but by the pressure pumping company that pumps the fluid downhole.

Because Plaintiffs do not make an apparatus that meets this limitation, they do not directly infringe

claims 36 and 86 of the ’993 patent.

        Defendants claim that Plaintiffs are often the last of the three parties to arrive at a fracking

operation and, therefore, complete the claimed invention. Specifically, Defendants contend the

“flowline that transmits the mix of cool or cold and heated water and proppant from the tank into

a formation” would already be in place at the time Plaintiffs connect their flowlines to the mixer.

However, it is not Plaintiffs’ connection of its flowlines that triggers transmission of the fracking

fluid into the geological formation. This connection merely creates an apparatus that is capable of

satisfying the final limitation. The court held in Cross Medical that this is insufficient. Id. Based

on the language of Defendants’ apparatus claims, infringement occurs only when actual transmission

of the fracking fluid begins. Defendants’ allegations of direct infringement of their apparatus claims

thus fail as a matter of law.

        Defendants’ only remaining direct infringement counterclaim concerns the ’993 patent’s

system claim. “[T]o ‘make’ [a] system under § 271(a), [an alleged infringer] would need to combine

all of the claim elements”—i.e., to “complete[] the system.” Centillion, 631 F.3d at 1288. Claim 26

of the ’993 patent recites the following elements: a transportable heating apparatus; a source of cool

water; a mixer; a first flowline from the heater to the mixer; a second flowline; and a mixing tank.

(Doc. #1-1; 80, p. 9). Notably, Defendants’ system claim does not contain the downhole pumping

limitation included in its apparatus claims. Without this limitation, Plaintiffs’ role as the last to

connect its equipment may render it the party “to combine all of the claim elements” and “complete


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the system.” At a minimum, a fact question remains as to whether Plaintiffs directly infringe

Defendants’ system claim. Plaintiffs’ motion for summary judgment with respect to this claim is

denied.

                                          CONCLUSION

          Because they cannot demonstrate as a matter of law that HEAT ON-THE-FLY is generic,

Plaintiffs’ motion for summary judgment on their trademark claims is DENIED. Plaintiffs also

cannot establish as a matter of law that they do not “make” the ’993 patent’s system claim. Because

a question of fact remains on that issue, Plaintiffs’ motion for summary judgment as to direct

infringement of Defendants’ system claim (claim 26) is also DENIED.

          Defendants’ remaining counterclaims of direct infringement of the ’993 patent (regarding

claims 1, 13, 36, 63, and 86) are DISMISSED, and Plaintiffs’ motion for summary judgment on

those claims is GRANTED. Defendants’ motion for a hearing is DENIED as moot.



          IT IS SO ORDERED.

          Dated this 6th day of November, 2013.

                                                 /s/ Ralph R. Erickson
                                              Ralph R. Erickson, Chief Judge
                                              United States District Court




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